Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 1 of 36




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                              Case No. 19-62467-CIV-CANNON/HUNT

   MARKSMAN SECURITY
   CORPORATION,

                 Plaintiff,

          v.

   P.G. SECURITY, INC. d/b/a PLATINUM
   GROUP SECURITY, et al.,

              Defendants.
   _________________________________/

                               REPORT AND RECOMMENDATIONS

          This matter is before this Court on Plaintiff’s Motion for Default Judgment on

   Certain Counts as a Sanction for Defendants’ Spoliation of Evidence (“Motion for

   Default”), ECF No. 136, and Plaintiff’s Motion for Summary Judgment (“Motion for

   Summary Judgment”), ECF No. 159. The Honorable Aileen M. Cannon referred this case

   to the undersigned for all pretrial discovery and for a report and recommendation on any

   dispositive matter. ECF Nos. 110, 165; see also 28 U.S.C. § 636; S.D. Fla. L.R., Mag. R.

   1. Upon thorough and careful review of the record, the applicable law, the July 23, 2021

   hearing that took place on the Motions, and being otherwise fully advised in the premises,

   the undersigned recommends that Plaintiff’s Motion for Default, ECF No. 136, be

   DENIED, and Plaintiff’s Motion for Summary Judgment, ECF No. 159, be GRANTED in

   part for the reasons set forth below.

   I.     Background

          This action arises from a trademark infringement dispute where Marksman

   Security Corporation (“Plaintiff”) accuses P.G. Security Inc. and Cameron Underwood
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 2 of 36




   (“Defendants”) of infringing on its trademark by creating an Instagram account that bore

   Plaintiff’s name, as well as purchasing domain names similar to Plaintiff’s that when

   accessed sent consumers to Defendants’ website instead of Plaintiff’s. ECF No. 49.

   Plaintiff also asserts claims for Anti-Cyber Squatting under 15 U.S.C. § 1125(d); Unfair

   Competition under 15 U.S.C. § 1125(a); Common Law Unfair Competition; Violation of

   Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.201 (“FDUPTA”); and

   for Misleading Advertising under Fla. Stat. § 817.41.

          Plaintiff moved the Court to enter default judgment against Defendants on Counts

   III (Common Law Unfair Competition), Count V (violation of FDUPTA), and Count VII

   (Misleading Advertising), as a sanction for Defendants’ alleged bad faith spoliation of

   critical and irreplaceable electronically stored information (“ESI”). ECF No. 136. Plaintiff

   also moved for summary judgment on the remaining counts. ECF No. 159. Defendants

   filed responses in opposition to both Motions and Plaintiff filed replies in support of both

   Motions. ECF Nos. 166, 169, 171, 173. The Court held a hearing on both Motions on

   July 23, 2021. ECF No. 172.

   II.    Undisputed Facts

          The undisputed facts are as follows:

             1. Plaintiff and Defendants both provide private security and concierge

                 services in the South Florida Market.

             2. The Parties have been direct competitors in the private security and

                 concierge services industry since 2004 and compete for both customers

                 and employees.




                                                 2
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 3 of 36




            3. Plaintiff’s President is Mark Radi and Kevin Van Middlesworth is the

               President of Defendant P.G.

            4. Mr. Radi and Mr. Van Middlesworth are cousins.

            5. On March 29, 2018 Defendants registered the following domains:

               marksmensecurity.com;      marksmansecurity.net;       marksmensecurity.net;

               marskemensecurity.org;               marksmensecurity.info;             and

               markmansecurity.com

            6. Defendants selected the domains because they are similar to Plaintiff’s

               website’s domain and these domains were set up so they would direct traffic

               to Defendants’ website.

            7. Defendant PG’s then senior-Vice President, Rony Joseph, created the

               email address markraditampa@gmail.com (“Gmail account”). The email

               address is based on the name of Plaintiff’s founder.

            8. Mr. Joseph used the Gmail account to register an Instagram account with

               the username “Marksmansecurity.”

            9. The header and profile of the “Marksmansecuirty” Instagram, which bore

               Marksman’s trademarked logo, appeared on Instagram as follows:




            10. The accompanying language on the Instagram account states: “We claim

               to be the best security company but we are not! Our employees steal from

               clients, we lie to our clients and we sue them if need be.”



                                              3
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 4 of 36




               11. In or around January 2018, Mr. Underwood, under the supervision and

                  direction of Platinum, began to pay acquaintances and other people $10 to

                  post positive reviews online about Defendant PG’s services on Google.

               12. These paid reviewers posted positive, 5-star reviews about Defendant PG.

               13. Defendant PG reimbursed Mr. Underwood for the amounts he paid to these

                  reviewers.

               14. From April 2018 through December 2018, Defendants’ gross sales were

                  $14,954,113.45.

               15. In 2019, Defendant PG’s gross sales were $21,993,216.97.

               16. In 2020, Defendant PG’s gross sales were $24,564,954.60.

   III.   Motion for Default Judgement

          A.      Parties’ Arguments

          Plaintiff asks this Court to sanction Defendants and enter default judgment against

   them on certain counts, and to provide an adverse instruction to the jury at trial regarding

   the deleted ESI, text messages, Instagram account, and Gmail account. Plaintiff’s Motion

   reiterates the numerous discovery issues to which the Court is no stranger. Plaintiff

   argues that Defendants did nothing to preserve the impostor Instagram account. Instead,

   Plaintiff contends that Defendants intentionally deleted the impostor Instagram account

   on the advice of counsel. Likewise, Plaintiff argues that Defendants failed to preserve the

   impostor Gmail account until it was too late and the Gmail account was deleted. Lastly,

   Plaintiff contends that Defendants’ corporate representative, Mr. Joseph, continued to

   allow his text messages to be deleted and that he affirmatively changed the retention

   feature on his phone to only keep text messages for thirty days. Plaintiff contends that the



                                                4
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 5 of 36




   ESI lost through the deletion of the accounts and text messages cannot be restored or

   replaced. Plaintiff argues that Defendants deleted the accounts and messages with the

   intent to deprive Plaintiff of the information and Defendants’ actions are direct evidence

   of their bad faith intent to withhold and destroy evidence. Plaintiff argues that even before

   the instant action was filed, Defendants denied that they knew about the Instagram

   account in a Bill of Discovery Action filed in state court. Plaintiff contends that if the Court

   does not find direct evidence as to the intent to deprive, at the minimum there is

   circumstantial evidence that the Court may consider reflecting Defendants’ intent to

   deprive.

          Plaintiff contends that it has been prejudiced by the loss of the ESI because the

   impostor accounts are crucial to Plaintiff’s claims. Additionally, Plaintiff states that there

   is no way to know whether Defendants had any further communications with third parties

   through either account. Similarly, Plaintiff contends that it knows for certain that Mr.

   Joseph did communicate via text regarding matters relevant to this action, indicating

   Defendants’ bad faith, through text messages discovered through Mr. Van Middlesworth’s

   iCloud backups.     Therefore, Plaintiff requests that the Court enter default judgment

   against Defendants on certain counts and further instruct the jury that the deleted text

   messages would have been unfavorable to Defendants on each of the remaining counts.

          Defendants respond that the Instagram account was kept private and was only

   meant to be seen by the few people who would understand that it was a joke. Once

   Defendants realized that creating a fake Instagram account for another company was

   actionable, Defendants’ counsel instructed Defendants to stop the account. Defendants’

   counsel meant for the account to be “stopped,” but Defendants’ CFO, Ms. Van



                                                  5
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 6 of 36




   Middlesworth, took that instruction to mean delete the account. ECF No. 166 at 2.

   Defendants argue that Ms. Van Middlesworth had no idea that the content stored on the

   account would be relevant or necessary because there were only two posts and anything

   that was needed was already copied and preserved. In Defendants’ view, Ms. Van

   Middlesworth believed she was doing the right thing, and thus not acting in bad faith, by

   shutting down the account that was the cause of the lawsuit.

          In regard to Mr. Joseph’s text messages, Defendants contend that Mr. Joseph

   bought his phone in 2017-18. At this time, his settings were changed to delete text

   messages after thirty days. When he lost his phone and received a new one, Defendants

   claim his phone was backed up from his previous settings. Therefore, according to

   Defendants, he never actively changed the retention setting to delete messages after

   thirty days during the pendency of this litigation.

          Next, Defendants argue that they never had access to the Gmail account because

   they lost the password. Once ordered by the Court to take the necessary steps to access

   the account, they realized that Google had deactivated the account due to inactivity.

   Lastly, Defendants argue that the Court should find there was no bad faith because

   Defendants contend that the information is not material or crucial to Plaintiff’s claims.

   Defendants contend that what Plaintiff must prove is the confusion caused by the

   Instagram page, not its existence, and therefore the contested evidence is not relevant.

           B.     Analysis

          “Spoliation is the destruction or significant alteration of evidence, or the failure to

   preserve property for another's use as evidence in pending or reasonably foreseeable

   litigation.” Graff v. Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “Sanctions



                                                 6
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 7 of 36




   for spoliation of the evidence ‘are intended to prevent unfair prejudice to litigants and to

   ensure the integrity of the discovery process.’” Managed Care Solutions, Inc. v. Essent

   Healthcare, Inc., 736 F. Supp. 2d 1317, 1323 (S.D. Fla. 2010) (quoting Flury v. Daimler

   Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005)). Spoliation of ESI is governed by

   Federal Rule of Civil Procedure 37(e).

          Federal Rule of Civil Procedure 37(e) states:

          If electronically stored information that should have been preserved in the
          anticipation or conduct of litigation is lost because a party failed to take
          reasonable steps to preserve it, and it cannot be restored or replaced
          through additional discovery, the court:

                 (1) upon finding prejudice to another party from loss of the
                 information, may order measures no greater than necessary
                 to cure the prejudice; or
                 (2) only upon finding that the party acted with the intent to
                 deprive another party of the information's use in the litigation
                 may:
                        (A) presume that the lost information was unfavorable to the
                        party;
                        (B) instruct the jury that it may or must presume the
                        information was unfavorable to the party; or
                        (C) dismiss the action or enter a default judgment.

   Fed. R. Civ. P. 37(e).

          Prior to imposing sanctions under 37(e), the court must determine that: “(1) the

   information sought constitutes ESI; (2) the ESI should have been preserved in anticipation

   of litigation; (3) the ESI is lost because a party failed to take reasonable steps to preserve

   it; and (4) the ESI cannot be restored or replaced through additional discovery.” NITV

   Fed. Servs. LLC v. Dektor Corp., No. 18-80994-CIV-BRANNON, 2019 WL 7899730, at

   *3 (S.D. Fla. Sept. 20, 2019) (citations omitted). “If these four threshold requirements are

   met, sanctions may be warranted if the Court finds prejudice or that the spoliating party

   acted with the intent to deprive the moving party of the ESI.” Id.

                                                 7
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 8 of 36




           The Court is given discretion on how to determine prejudice under Rule 37(e).

   Intent to deprive may be found on circumstantial evidence if: “(1) evidence once existed

   that could fairly be supposed to have been material to the proof or defense of a claim at

   issue in the case; (2) the spoliating party engaged in an affirmative act causing the

   evidence to be lost; (3) the spoliating party did so while it knew or should have known of

   its duty to preserve the evidence; and (4) the affirmative act causing the loss cannot be

   credibly explained as not involving bad faith by the reason proffered by the spoliator.” Id.

   (citations omitted). Courts in this district have likened the intent to deprive standard with

   that of bad faith. See Incardone v. Royal Caribbean Cruises, LTD., Case No. 16-20924-

   CIV-MARTINEZ/GOODMAN, 2019 WL 3779194, at *18 (S.D. Fla. Aug. 12, 2019); Living

   Color    Enters.,   Inc.   v.   New   Era   Aquaculture,   LTD.,   Case    No.    14-62216-

   MARRA/MATTHEWMAN, 2016 WL 1105297, at *6 n.6 (S.D. Fla. Mar. 22, 2016) (noting

   that the intent to deprive standard may very well be harmonious with the bad faith

   standard).

           Here, the undersigned finds that the four threshold requirements have been met in

   regard to the Instagram account, Gmail account, and the text messages. First, all three

   certainly qualify as ESI, as they are the essence of information stored electronically. The

   undersigned also finds that this ESI should have been preserved. Whether evidence

   should have been preserved or if the duty to preserve has attached is determined by

   whether litigation was pending or reasonably foreseeable when the spoliation occurred.

   Graff, 310 Fed. App’x at 301. Here, both the Instagram account and the Gmail account

   were deleted and deactivated during the pendency of this litigation. Thus, Defendants

   had a duty to preserve these two accounts well before they were deleted or deactivated.



                                                 8
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 9 of 36




   Turning to the text messages, whether these should have been preserved is a more

   complicated matter.    The duty to preserve attached when litigation was reasonably

   foreseeable. Here, that would have been when Plaintiff filed the bill of discovery in state

   court or when the instant action was filed. Either way, from these points on, Defendants’

   duty to preserve these text messages attached.

          Next, the undersigned must address whether the spoliated ESI was lost because

   Defendants failed to take reasonable steps to preserve it. The undersigned finds that it

   is unambiguous that Defendants failed to take reasonable steps to preserve the Gmail

   account and the Instagram account. Throughout litigation, the impostor Gmail account

   has been the subject of many motions to compel brought by Plaintiffs. Defendants

   contended that they did not know the password to the account and therefore could not

   access the information. In this day and age, the undersigned finds it baffling that attorneys

   practicing in the field of intellectual property do not know how to use the function “forgot

   password.” When the undersigned ordered Defendants to utilize that function, long after

   this litigation commenced, Defendants realized that the Gmail account had been

   deactivated. The undersigned finds this failure enough to determine that Defendants

   failed to take reasonable steps to preserve the Gmail account.

          Turning to the Instagram account, a generous reading allows that the account was

   deleted under the misunderstood advice of counsel. Because ESI often exists in multiple

   locations, if that information is lost from one source, such loss may be harmless if

   substituted information can be found elsewhere. See Living Color Enters., 2016 WL

   1105297, at * 5 (quoting the Advisory Committee Notes to Rule 37(e)). There are

   preserved screen shots of the Instagram account, which depict the number of followers,



                                                9
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 10 of 36




   posts, and the number of accounts the account follows. Thus, not all of the information

   is lost. However, there is certain information not depicted in the screenshot that cannot

   be recovered. For example, whom the account was following, or what was posted, cannot

   be determined. These are things important to Plaintiff’s case, and which Defendants had

   a duty to preserve. The undersigned finds that even given Defendants’ excuses,

   Defendants failed to take reasonable steps to preserve the Instagram account. It was

   incumbent upon Defendants to ensure the account was not deleted, and yet they failed

   at even this most basic task.

          Turning to the text messages, it seems some of Mr. Joseph’s messages have been

   produced with discovery from Mr. Van Middlesworth. Thus, at least some of the text

   messages were not lost. Therefore, sanctions under Rule 37(e) are not available with

   respect to these produced messages because sanctions or curative measures under the

   rule are only available if the ESI is lost. See id. However, it also appears that there are

   text messages that should have been preserved and were not, which were therefore lost.

   As with the majority of ESI at issue, the undersigned finds that Defendants failed to take

   reasonable steps to preserve these remaining text messages.

          The final question of the threshold requirements the undersigned must address is

   whether the spoliated ESI evidence cannot be restored or replaced through additional

   discovery. Here, the undersigned finds that the spoliated evidence cannot be restored or

   replaced through additional discovery. The Court has already ordered a forensic search

   of Defendants’ devices. As mentioned above, this search led to the discovery of some—

   but not all—text messages. However, the Instagram and Gmail accounts, as well as other




                                               10
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 11 of 36




   text messages, cannot be found, restored, or replaced. Thus, the spoliated ESI cannot

   be restored or replaced through additional discovery.

          Because the undersigned finds that the threshold requirements under Rule 37(e)

   have been met, the undersigned must continue and analyze the facts at hand under

   subsection (e)(1) to determine whether to make a finding of prejudice or under subsection

   (e)(2) to determine whether there was an intent to deprive.

          When determining prejudice, the 2015 Advisory Committee’s notes to Rule

   37(e)(1) state that:

          the rule does not place a burden of proving or disproving prejudice on one
          party or the other. Determining the content of lost information may be a
          difficult task in some cases, and placing the burden of proving prejudice on
          the party that did not lose the information may be unfair. In other situations,
          however, the content of the lost information may be fairly evident, the
          information may appear to be unimportant, or the abundance of preserved
          information may appear sufficient to meet the needs of all parties. Requiring
          the party seeking curative measures to prove prejudice may be reasonable
          in such situations. The rule leaves judges with discretion to determine how
          best to assess prejudice in particular cases.

          Here, the Court finds it difficult to ascertain the amount of prejudice Plaintiff has

   suffered due to Defendants’ spoliation of evidence. While the loss of the ESI is somewhat

   prejudicial, Plaintiff has the requisite information required to establish its claims.

   Defendants have admitted to opening the Instagram and Gmail accounts. Defendants

   contend that the sole purpose of the Gmail account was to establish the Instagram

   account and the email account was not used for any other purposes. This is supported

   by the fact that the account was removed by Google due to inactivity. As to the Instagram

   account, Defendants argue that the account was private, had zero followers, and was

   only shared with those who knew it was meant as a joke.




                                                11
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 12 of 36




          Plaintiff counters that there is information not readily available on the surface of

   the account and that Defendants could have been messaging clients or potential clients.

   The undersigned finds this argument to be lacking as there is no other evidence to show

   that this is true. However, the undersigned finds Plaintiff’s concern that there are other

   text messages from Mr. Joseph that may indicate bad faith to have some merit, because

   there have been other text messages produced during discovery that show this may be

   true. Therefore, in regard to the Instagram and Gmail account the undersigned finds that

   Plaintiff has not suffered any prejudice or any such prejudice suffered is harmless.

          However, as to the text messages, the undersigned does find that Plaintiff has

   suffered some prejudice. Little perhaps, but nonetheless some. The text messages lost

   could have provided additional evidence of Defendants’ bad faith scheme to direct

   consumers away from Plaintiff’s services to their own. However, there is already an

   abundance of evidence that demonstrates this was Defendants’ intent, including

   Defendants’ own admission of such.          Therefore, while Plaintiff has suffered some

   prejudice, Plaintiff has information sufficient to meet the needs to establish the allegations

   raised in its Complaint. Therefore, the undersigned finds any prejudice suffered by

   Plaintiff to be so minimal that it is not necessary to order the requested measures to cure

   the prejudice.

          The undersigned must next consider the “intent to deprive” standard laid out in

   Rule 37(e)(2), which also allows the Court to impose more severe spoliation sanctions.

   Here, while Defendants may have spoliated evidence, the undersigned does not find any

   direct evidence of the “intent to deprive.” Defendants deleted the Instagram account on




                                                12
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 13 of 36




   arguably misunderstood advice of counsel. While perhaps negligent, this does not rise to

   the level of intent to deprive or bad faith.

          Further, Defendants do not have control over Google’s deactivation procedures.

   While Defendants could have attempted to use the “forgot password” function prior to

   being ordered to do so, the undersigned again finds that this does not equate to intent to

   deprive. Lastly, the Court will give Defendants the benefit of the doubt and assume that

   Mr. Joseph’s text messages were set to delete after thirty days prior to the

   commencement of this litigation.       Although he may have purchased a new phone,

   Defendants’ counsel contends that Mr. Joseph incorporated his phone’s previous setting,

   which would have included the thirty-day-deletion-of-messages setting.           Defendants’

   counsel should have told Defendants to preserve or retain their messages once litigation

   was reasonably foreseeable, but, again, this does not equate to bad faith or the intent to

   deprive.

          The undersigned also notes that messages Plaintiff seeks regarding Defendants’

   bad faith intent, if such messages were deleted after thirty days, would have been deleted

   prior to the start of litigation. Therefore, the undersigned finds that Defendants’ spoliation

   of evidence, while negligent, does not equal the intent to deprive or bad faith. See

   Tesoriero v. Carnival Corp., 965 F.3d 1170, 1184 (11th Cir. 2020) (“Spoliation sanctions—

   and in particular adverse inferences—cannot be imposed for negligently losing or

   destroying evidence.”).

          Therefore, based on the foregoing, the undersigned recommends that Plaintiff’s

   Motion for Default Judgment, ECF No. 136, be DENIED. However, should Defendants

   open the door at trial by arguing, for example, that there are no other text messages or



                                                  13
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 14 of 36




   that the Instagram account or Gmail account do not show any intent of bad faith, then

   Plaintiff should notify the District Court immediately and request that Defendants either

   be prohibited from so arguing, or request an adverse inference that the deleted messages

   would have shown Defendants’ bad faith. In other words, although the undersigned

   recommends against imposing the severe sanctions requested by Plaintiff, Defendants

   should expect consequences if they attempt to take advantage of this recommendation

   at trial.

   IV.      Plaintiff’s Motion for Summary Judgment

         A. Parties’ Arguments

            Plaintiff moves for summary judgment on counts 1, 2, 4, and 5. Plaintiff contends

   it is entitled to summary judgment against Defendant on count one (Federal Anti-

   Cybersquatting (“ACPA”)), on the grounds that it owns the mark that was used in the six

   domains registered by Defendants to direct traffic to Defendants’ website. Plaintiff argues

   that the word “Marksman” together with the red shield design were registered on the

   Principal Register of the United States Patent and Trademark on October 16, 2018.

   Plaintiff argues that the marks are distinctive and therefore valid. Plaintiff argues that

   Defendants purchased these domains with the intent to steal clients and direct business

   to their company in bad faith. Indeed, Plaintiff contends that Defendants’ corporate

   representative admitted in his deposition that Defendants purchased the domains

   specifically to drive clients to their website.

            Next, Plaintiff requests that the court grant an injunction to prevent future

   violations. Plaintiff argues that it has suffered irreparable harm from Defendants’ use of

   its mark, that the balance of hardships weighs in Plaintiff’s favor, and that the public



                                                     14
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 15 of 36




   interest weighs strongly in favor of a permanent injunction to prevent confusing

   customers.

          Plaintiff argues that it is entitled to summary judgment on the remaining counts

   because Defendants engaged in federal and common law unfair competition and violated

   the Florida Deceptive and Unfair Trade Practices Act. Plaintiff argues that the fake good

   reviews on Defendants’ Google page which were paid for by Defendants constitute

   commercial speech; were aimed to deceive consumers; had a material effect on the

   consumers’ purchasing decisions regarding Plaintiff’s services; and induced consumers

   to purchase Defendants’ services.         Plaintiff argues that the fake good reviews on

   Defendants’ Google account satisfy this count and that judgment should be entered in

   favor of Plaintiff in the amount of $24,564,954.60.

          Defendants respond and acknowledge that the tit-for-tat antics between the

   companies escalated too far. Defendants contend that in an effort to increase their

   Google presence they hired Cameron Underwood, who sought out twelve witnesses who

   could give positive testimonials regarding Defendants’ services. Defendants concede

   that at least three out of the twelve reviews were false because the individuals did not live

   in a building that Defendants serviced.

          Defendants next argue that Plaintiff’s anti-cybersquatting claims fail because

   Plaintiff’s marks are not distinctive. Defendants contend that Plaintiff’s marks are not

   suggestive, but rather are descriptive because it is not a stretch of the imagination to

   connect a marksman to a security service company. Next, Defendants claim that there

   is at a minimum a question of fact as to the level of distinctiveness which falls within the

   purview of a jury. Defendants argue that Plaintiff’s registered marks are for the word



                                                15
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 16 of 36




   Marksman and the symbol but not the word security. Defendants also maintain that

   Defendants use of the domains was non-commercial because it gained no customers via

   the use of the domains. Defendants also argue that while two of the factors indicating

   bad faith may favor Plaintiff, the majority are either neutral or favor a finding that there

   was no bad faith. Next, Defendants contend that Plaintiff is not entitled to their gross

   profits because no customers were derived from the domains, as evidenced by Mr.

   Joseph’s sworn affidavit. Thus, at a minimum, the issue of whether customers were

   derived from the misleading domains should be decided by a jury. As to the permanent

   injunction, Defendants state that there is no need for such a severe remedy because they

   surrendered the domains and the Instagram account is no longer active. In regard to the

   unfair competition claims, Defendants argue that Plaintiff has not been harmed and

   cannot show it is likely to be harmed by the paid-for Google reviews on Defendants’

   account. Thus, Defendants contend that summary judgment should be denied on those

   counts.

          Plaintiff replies that Defendants’ arguments should fail because ignorance of the

   law is no excuse and that self-serving affidavits cannot create a genuine issue of fact.

   Next, Plaintiff argues that Defendants’ own expert’s survey concluded that only 2% of

   people associate a marksman with security services.          Thus, Plaintiff contends that

   Defendants’ argument that Plaintiff’s marks are descriptive rather than suggestive fails.

   Plaintiff argues that it is entitled to Defendants’ gross profits because Defendants’ self-

   serving affidavit is not enough credible evidence to show any deductions. Thus, Plaintiff

   is entitled to the gross sales number because Defendants failed to meet their burden of

   demonstrating any deductions.



                                               16
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 17 of 36




      B. Legal Standard

          Summary judgment is appropriate where there is “no genuine issue as to any

   material fact [such] that the moving party is entitled to judgment as a matter of law.”

   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see also Fed R. Civ. P. 56. An issue

   of fact is “material” if it is a legal element of the claim under the applicable substantive

   law that might affect the outcome of the case. Allen v. Tyson Foods, Inc., 121 F.3d 642,

   646 (11th Cir. 1997). An issue of fact is “genuine” if the record, taken as a whole, could

   lead a rational trier of fact to find for the non-moving party. Id. “For factual issues to be

   considered genuine, they must have a real basis in the record.” Mann v. Taser Int'l, Inc.,

   588 F.3d 1291, 1303 (11th Cir. 2009) (citation omitted).

          The moving party has the initial burden of showing the absence of a genuine issue

   as to any material fact. See Tyson Foods, Inc., 121 F.3d at 646 (citation omitted). In

   deciding whether the moving party has met this burden, the court must view the movant's

   evidence and all factual inferences arising from it in the light most favorable to the non-

   moving party. Denney v. Albany, 247 F.3d 1172, 1181 (11th Cir. 2001). Once the moving

   party satisfies its initial burden, the burden shifts to the non-moving party to come forward

   with evidence showing a genuine issue of material fact that precludes summary judgment.

   Bailey v. Allgas, Inc., 284 F.3d 1237, 1243 (11th Cir. 2002); see also Fed. R. Civ. P. 56(e).

   “The mere existence of a scintilla of evidence in support of the [non-moving party's]

   position will be insufficient; there must be evidence on which the jury could reasonably

   find for the [non-movant].” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). “If

   reasonable minds could differ on the inferences arising from undisputed facts, then a

   court should deny summary judgment.” Tyson Foods, Inc., 121 F.3d at 646 (citations



                                                17
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 18 of 36




   omitted). But if the record, taken as a whole, cannot lead a rational trier of fact to find for

   the non-moving party, there is no genuine issue for trial, and summary judgment is proper.

   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

      C. Discussion

                  1. Count I Federal Anti-Cybersquatting (“ACPA”)

          “[A} person shall be liable in a civil action by the owner of a mark . . . [if] that person

   . . . has a bad faith intent to profit from that mark . . . and . . . registers, traffics in, or uses

   a domain name that . . . in the case of a mark that is distinctive at the time of registration

   of the domain name, is identical or confusingly similar to that mark.” Jysk Bed'N Linen v.

   Dutta-Roy, 810 F.3d 767, 778–79 (11th Cir. 2015) (quoting 15 U.S.C. § 1195(d)).

   “[C]ybersquatting occurs when the cybersquatter ‘intend[s] to profit by diverting customers

   from the website of the trademark owner to the defendant's own website, where those

   consumers would purchase the defendant's products or services instead of the trademark

   owner's.’” Id. (quoting S. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1246 (11th

   Cir. 2009).

          The undersigned finds, and Defendants do not dispute, that Plaintiff owns the

   registered word “Marksman” and the red design mark. The Marks were registered on the

   Principal Register of the United States Patent and Trademark (“USPTO”).

          The undersigned must now determine whether Plaintiff’s marks are distinctive. A

   trademark qualifies as distinctive if it is either inherently distinctive or it acquires

   distinctiveness over time. Royal Palm Properties, LLC v. Pink Palm Properties, LLC, 950

   F.3d 776, 782 (11th Cir. 2020).          “Whether a mark has either inherent or acquired

   distinctiveness is a question of fact.”          Engineered Tax Servs., Inc., v. Scarpello



                                                    18
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 19 of 36




   Consulting, Inc., 958 F.3d 1323, 1327 (11th Cir. 2020) (citing Welding Servs., Inc. v.

   Forman, 509 F.3d 1351, 1357 (11th Cir. 2007)). A mark’s level of distinctiveness has

   been classified into four categories: fanciful or arbitrary; suggestive; descriptive; and

   generic. Royal Palm Properties, LLC, 950 F.3d at 782. In this case, the issue only

   pertains to whether the mark is suggestive or descriptive. The undersigned will therefore

   not address the meaning of fanciful or arbitrary and generic.

          A suggestive mark is one where the name is a real word that bears a slight

   relationship to the product. Royal Palm Properties, LLC, 950 F.3d at 782; see also

   Welding Servs. Inc., 509 F.3d at 1357–58 (stating that a suggestive mark requires a leap

   of the imagination to get from the mark to the product). Suggestive marks are inherently

   distinctive and require no proof of secondary meaning to be protectable. Royal Palm

   Properties, LLC, 950 F.3d at 783. A descriptive mark, on the other hand, identifies a

   characteristic or quality of the service or product. Welding Servs. Inc., 509 F.3d at 1358.

   A descriptive mark is only protectable if it acquires distinctiveness by obtaining a

   “secondary meaning.” Id.

          Courts routinely apply two legal tests to distinguish suggestive marks from

   descriptive marks, most commonly known as the “imagination” test and the “third-party-

   use” test. Engineered Tax Servs. Inc., 958 F.3d at 1329. A mark is merely descriptive,

   rather than suggestive—and thus is not inherently distinctive—if “the customer who

   observes the term can readily perceive the nature of plaintiff's services, without having to

   exercise his imagination.” Id. at 1329 (quoting Investacorp, Inc. v. Arabian Inv. Banking

   Corp. (Investcorp) E.C., 931 F.2d 1519, 1524 (11th Cir. 1991)). The third-party-usage

   test requires the Court to determine “whether competitors would be likely to need the



                                               19
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 20 of 36




   terms used in the trademark in describing their products.” Id. at 1331. It stands to reason

   that if a competitor needs the mark to describe its own product then the mark must not be

   distinctive. Id.

          When a mark has been registered with the USPTO, the mark acquires a rebuttable

   presumption that the mark is protectable or distinctive. Id. (citing Welding Servs. Inc.,

   509 F.3d at 1357 n.3). Further, the Eleventh Circuit has suggested that trademark holders

   are not entitled to rebuttable presumptions of both inherent and acquired

   distinctiveness—it is either one or the other. Id. Which presumption applies depends on

   the registration process. See id. The mark is entitled to the presumption of inherently

   distinctive when no proof of secondary meaning is provided as part of the registration

   process. Engineered Tax Servs. Inc., 958 F.3d at 1331. Naturally, if proof of secondary

   meaning is provided during the registration process then the mark is entitled to the

   presumption that it has acquired distinctiveness. See id.

          “[T]o successfully challenge a registered mark on distinctiveness grounds, the

   challenger must overcome the presumption of validity by showing—by a preponderance

   of the evidence—that the mark is not distinctive.” Id. If the challenger successfully rebuts

   the presumption, the burden shifts to the mark holder to prove distinctiveness. Id. Here,

   the undersigned finds that Defendants have not met their burden.

          Plaintiff registered its marks with USPTO and was not required to provide proof of

   secondary meaning. Accordingly, Plaintiff is entitled to the rebuttable presumption that

   its marks are inherently distinctive. The crux of Defendants’ argument is that Plaintiff’s

   marks are not distinctive because “it does not require a stretch of the imagination to

   connect a marksman and a security service company.” ECF No. 169 at 6. Defendants



                                               20
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 21 of 36




   support this allegation by submitting a survey conducted by Defendants’ expert

   questioning adults on what they associate Plaintiff’s marks with.        ECF No. 169-1.

   However, Defendants’ own survey disputes the crux of their argument as the survey

   reveals that only 2% of the adults surveyed associated Plaintiff’s marks with military or

   law enforcement. ECF No. 169-1 at 5. The majority of adults surveyed associated the

   marks with guns or other activities involving shooting or archery. ECF No. 169-1 at 5-6.

   In actuality, Defendants’ survey supports the imagination test indicating that the marks

   are suggestive rather than descriptive because the adults surveyed have to make a leap

   of imagination to associate Plaintiff’s marks with Plaintiff’s provided services.     The

   undersigned finds that this does not overcome the presumption of validity by a

   preponderance of the evidence.

          Nor does Defendants’ statement of facts, which attaches a printout of another

   company named Marksman Security in Nepal, help Defendants dispute the presumption.

   The distinctiveness inquiry takes into consideration relevant geographical boundaries.

   Tana v. Dantanna's, 611 F.3d 767, 776 (11th Cir. 2010). The fact that two companies on

   opposite sides of the world share a name does not affect its uniqueness within its relative

   geographical reach. Thus, the undersigned finds that Defendants have not overcome the

   presumption and that Plaintiff’s marks are suggestive and inherently distinctive.

          The next issue the undersigned must address under the count is whether

   Defendants had a bad faith intent to profit from Plaintiff’s marks. The Anti-Cybersquatting

   Statute provides nine factors that may be considered by the court when determining

   whether a person “ha[d] a bad faith intent to profit from th[e] mark.” 15 U.S.C. §

   1125(d)(1)(B)(i). Those factors are:



                                               21
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 22 of 36




          1. Whether the defendant has a “trademark or other intellectual property
          rights” in the domain name;
          2. Whether the domain name refers to the legal name of the defendant;
          3. Whether the defendant ever used the domain name “in connection with
          the bona fide offering of any goods or services;”
          4. Whether the defendant has a “bona fide noncommercial or fair use of the
          mark in a site accessible under the domain name;”
          5. Whether the defendant has an “intent to divert consumers” from the mark
          owner's website to his own, either for commercial gain “or with the intent to
          tarnish or disparage the mark,” when that diversion could cause harm to the
          mark owner's goodwill;
          6. Whether the defendant offers to transfer or sell the domain name for
          financial gain when he has not used or had an intent to use the domain
          name in connection with “the bona fide offering of any goods or services;”
          7. Whether the defendant provides “material and misleading false contact
          information when applying for the registration of the domain name” or the
          defendant “intentional[ly] fail[s] to maintain accurate contact information;”
          8. Whether the defendant acquired multiple domain names that the
          defendant knows are identical or confusingly similar to distinctive marks;
          and
          9. Whether the mark is distinctive or famous.
   Jysk Bed’N Linen, 810 F.3d at 776; 15 U.S.C. § 1125(d)(1)(B)(i). The Court may consider

   these factors on summary judgment and is not limited to these nine factors to determine

   whether there was a bad faith intent to profit. Jysk Bed’N Linen, 810 F.3d at 775;

   Victoria’s Cyber Secret, 161 F. Supp. 2d at 1347. It comes as no surprise that the Parties

   disagree on which factors are met.

          Defendants properly concede that factors one and two favor Plaintiff. However,

   Defendants argue that factor three favors Defendants. Defendants argue that Plaintiff’s

   marks are the word Marksman and the logo and not the combined mark of

   marksmansecurity. Thus, Defendants argue that there is a genuine issue of material fact

   as to whether the domains in question infringed Plaintiff’s marks at all. Plaintiff responds

                                               22
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 23 of 36




   that Defendants misread what the factor states. The undersigned agrees with Plaintiff –

   factor three requires the Court to determine whether Defendants ever used the domains

   in connection with a bona fide offering of any goods or services. Defendants have

   admitted that they registered the domains solely for the purpose of redirecting business

   their way. Thus, the undersigned finds that factor three favors Plaintiff.

          Likewise, Defendants’ argument as to factor four, that no customers were diverted

   as a result of the registered domains, also fails. Again, the Court is to consider whether

   Defendants had a bona fide non-commercial or fair use of the mark. Even if no customers

   were diverted, Defendants admitted that the claimed purpose of the registered domains

   were to direct business their way. As the admitted purpose of using the mark was

   directing clients toward Defendants’ business, Defendants cannot credibly argue either

   non-commercial or fair use, and thus this factor also favors Plaintiff.

          As to factor five, whether Defendants had an intent to divert consumers from the

   mark holder’s website to their own, Defendants argue that “intent alone” does not suffice

   for this factor and that Plaintiff provided no evidence that customer confusion existed.

   Once again, Defendants misconstrue the factor to be examined. The factor does not

   mention consumer confusion. Nor do Defendants provide any case law or support for

   their conclusory statement that intent alone does not suffice for this factor. Defendants’

   own admission that they tried to “direct business their way” demonstrates their intent to

   divert consumers from Plaintiff’s website to their own. When accessed, the domains

   would direct potential consumers to Defendants’ website. Thus, the undersigned finds

   this factor favors Plaintiff.




                                                23
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 24 of 36




          There appears to be no contention that Defendants attempted to transfer or sell

   the domain name for financial gain, so factor six favors neither side. As for factor seven,

   Defendants contend that this factor favors them because Mr. Joseph used the company

   email, credit card, and his personal name to purchase the domain names. Plaintiff

   contends that Defendants used a “proxy to disguise themselves to register the domains.”

   Plaintiff supports this allegation with the domain’s registrations provided by

   Godaddy.com. ECF No. 158-9. The registrations do indeed show that the registrant was

   provided by “proxy” and nowhere within the registrations are Defendants’ names.

   However, the undersigned will not weigh this factor to the favor of either party.

          Defendants contend that both factors eight and nine relate to the marks’

   distinctiveness and incorporate their earlier raised arguments. As the undersigned has

   already found the marks to be inherently distinctive, factor nine favors a finding of bad

   faith. Factor eight requires the Court to consider whether Defendants acquired domains

   that Defendants knew were identical or confusingly similar to distinctive marks. As

   mentioned earlier, it is undisputed that Defendants acquired six domain names that all

   had intentional misspellings of Plaintiff’s website. Defendants knew the domain names

   were confusingly similar because the acquired domain names all contained intentional

   misspellings. Should a consumer misspell Plaintiff’s website, they would likely be directed

   to Defendants’ website. Looking at the domains objectively, no reasonable juror could

   conclude that the domain names were not confusingly similar. Thus, the undersigned

   finds that this factor also favors a finding of bad faith.

          Lastly, under the ACPA, the undersigned must compare the infringed marks with

   the domains to determine whether “they are so similar in sight, sound or meaning that



                                                  24
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 25 of 36




   confusion is likely.” Heron Dev. Corp. v. Vacation Tours, Inc., No. 16-20683-CIV-

   MORENO, 2018 WL 2943217, at *7 (S.D. Fla. June 12, 2018). Here, the undersigned

   finds that the domains are confusingly similar to Plaintiff’s trademark.

          Plaintiff’s marks are the word “Marksman” and the accompanying logo. Plaintiff

   provides security services and Defendants also provide security services. Defendants’

   corporation’s corporate name is Platinum Secuirty Group and does business as PG

   Security. The domains purchased by Defendants to direct traffic to their website were:

   marksmensecurity.com;             marksmansecurity.net;             marksmensecurity.net;

   marskemensecurity.org; marksmensecurity.info; and markmansecurity.com. Plaintiff’s

   domain      is     marksmansecurity.com,         while      Defendants’      domain       is

   platinumgroupsecurity.com. When comparing the purchased domains with Plaintiff’s

   marks, the undersigned finds that the domains and Plaintiff’s mark look almost identical,

   except for the word security, and do not substantially differ in meaning.

          Defendants allege that including the word security dispels the similarity. However,

   the undersigned finds such an argument to be without merit in a case where Defendants

   incorporated Plaintiff’s entire mark “marksman” and added a generic word such as

   security. See Victoria’s Cyber Secret Ltd. v. Secret Catalogue, Inc., 161 F. Supp. 2d

   1339, 1351 (S.D. Fla. 2001) (“Unlike a traditional trademark dispute, where identical

   marks can be used, only one party can register a domain name, thus the slight differences

   between domain names and registered marks, such as the addition of minor or generic

   words to the disputed domain names are irrelevant.”). The domain names are clear

   misspellings of Plaintiff’s marks with Defendants’ admitted intent to drive traffic to their

   website. Any internet user seeking Plaintiff’s website who may have accidentally spelled



                                               25
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 26 of 36




   it incorrectly in any of these six ways would be sent to Defendant’s website, which just so

   happens to offer security services. Any internet user could assume that the domain was

   either modified, used, or permitted by Plaintiff. Thus, the undersigned finds that the

   domain names are confusingly similar to Plaintiff’s trademarks.

          Therefore, for the reasons stated above, the undersigned finds that Defendants

   have violated the ACPA and recommends that summary judgment be entered in favor of

   Plaintiff on Count I.

                 2. Damages

          While the undersigned recommends that summary judgment be entered in favor

   of Plaintiff, what is difficult to recommend is the relief to which Plaintiff is entitled. The

   Court can award damages under 15 U.S.C. § 1117(a) for Lanham Act violations. That

   section states:

          (a) Profits; damages and costs; attorney fees

          When a violation of any right of the registrant of a mark registered in the
          Patent and Trademark Office, a violation under section 1125(a) or (d) of this
          title, or a willful violation under section 1125(c) of this title, shall have been
          established in any civil action arising under this chapter, the plaintiff shall
          be entitled, subject to the provisions of sections 1111 and 1114 of this title,
          and subject to the principles of equity, to recover (1) defendant's profits, (2)
          any damages sustained by the plaintiff, and (3) the costs of the action. The
          court shall assess such profits and damages or cause the same to be
          assessed under its direction. In assessing profits the plaintiff shall be
          required to prove defendant's sales only; defendant must prove all elements
          of cost or deduction claimed. In assessing damages the court may enter
          judgment, according to the circumstances of the case, for any sum above
          the amount found as actual damages, not exceeding three times such
          amount. If the court shall find that the amount of the recovery based on
          profits is either inadequate or excessive the court may in its discretion enter
          judgment for such sum as the court shall find to be just, according to the
          circumstances of the case. Such sum in either of the above circumstances
          shall constitute compensation and not a penalty. The court in exceptional
          cases may award reasonable attorney fees to the prevailing party.



                                                 26
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 27 of 36




          Plaintiff seeks to disgorge $65,000,000 in profits from Defendants and contends

   that Defendants have not met their burden in showing any deduction. Defendants’

   counterargument can be summarized as “no harm no foul.” Specifically, Defendants

   contend that no customers were ever diverted from Plaintiff, thus none of Defendants’

   profits should be disgorged because no profits were obtained from the alleged

   infringement.

          “As recognized by the Eleventh Circuit, Section 1117(a) vests considerable

   discretion in the district court.” Rain Bird Corp. v. Taylor, 665 F. Supp. 2d 1258, 1271

   (N.D. Fla. 2009) (citing Burger King, Corp. v Mason, 710 F.2d 1993, 1495 (11th Cir.

   1983)). “Guided by the principles of equity, the court may award the defendant's profits.”

   Id. Notably, “[t]he statute also provides for the adjustment of any profits award if it is

   inadequate or excessive. This remedial accommodation clearly envisions the exercise of

   the trial judge's discretion.” Id.

          “Certain principles should guide the district court in the exercise of its discretion.

   First, an award of attorney's fees is proper only in ‘exceptional cases.’” (Id. quoting 15

   U.S.C. § 1117(a).) An exceptional case is one “that can be characterized as malicious,

   fraudulent, deliberate and willful, or a case where there is evidence of fraud or bad

   faith.” Id. (internal citations omitted.) “Second, there is no automatic right to enhanced

   damages. Trial judges have wide latitude in determining a just amount of recovery for

   trademark infringement.” Id. (citing Burger King, Corp., 710 F.2d at 1495).

          Here, the undersigned finds that recovery based on unreduced profits is excessive,

   and notes that Plaintiff’s counsel conceded as much at the hearing on the Motion. Plaintiff

   alternatively seeks statutory damages in the event, as here, the Court determines Plaintiff



                                                27
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 28 of 36




   is not entitled to Defendants’ profits. ECF No. 136 at 16 n.12. The undersigned finds that

   Plaintiff is entitled to statutory damages.

          In a case involving a violation of section 1125(d)(1) of this title, the plaintiff
          may elect, at any time before final judgment is rendered by the trial court,
          to recover, instead of actual damages and profits, an award of statutory
          damages in the amount of not less than $1,000 and not more than $100,000
          per domain name, as the court considers just.

   15 U.S.C. § 1117(d).      Plaintiff contends that Defendants’ wrongdoing warrants the

   maximum available award of $100,000 per domain for a total of $600,000.                     The

   undersigned disagrees, and instead finds that Plaintiff is reasonably entitled to damages

   in the amount of $60,000, or $10,000 per domain, in keeping with similar awards in this

   District. See Victoria Cyber Secret Ltd., 161 F. Supp. 2d at 1356 (awarding $10,000 per

   domain).

                 3. Unfair Competition and FDUPTA Counts

          Plaintiff next moves for summary judgment on Counts II, IV, and VI, which assert

   claims for federal and common law unfair competition and violations of FDUPTA. Plaintiff

   argues that the fake positive reviews on Defendant’s Google page that Defendants paid

   for constitute commercial speech; that such speech was aimed to deceive consumers;

   that the speech had a material effect on the consumers’ purchasing decision of Plaintiff’s

   security; and that the speech instead made consumers purchase Defendants’ services.

   Plaintiff argues that the fake positive reviews on Defendants’ Google account satisfy

   these necessary elements of these counts; that judgment should be so entered; and that

   Plaintiff should be awarded for $24,564,954.60. Defendants respond that summary

   judgment should not be entered on these counts because Plaintiff cannot establish that it

   has been harmed or is likely to be harmed.


                                                 28
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 29 of 36




         Plaintiff submits that the claims for unfair competition under the Lanham Act,

   common law unfair competition, and claims for unfair competition brought under FDUPTA

   may be analyzed simultaneously. Defendants do not contest this proposition.

         The Federal Unfair Competition Statute in relevant part states:

         Any person who, on or in connection with any goods or services, or any
         container for goods, uses in commerce any word, term, name, symbol, or
         device, or any combination thereof, or any false designation of origin, false
         or misleading description of fact, or false or misleading representation of
         fact, which—

             (A) is likely to cause confusion, or to cause mistake, or to deceive as to
                 the affiliation, connection, or association of such person with another
                 person, or as to the origin, sponsorship, or approval of his or her
                 goods, services, or commercial activities by another person, or

             (B) in commercial advertising or promotion, misrepresents the nature,
                 characteristics, qualities, or geographic origin of his or her or another
                 person's goods, services, or commercial activities,


         shall be liable in a civil action by any person who believes that he or she is
         or is likely to be damaged by such act.

   15 U.S.C. 1125(a)(1). To establish a prima facie case of false advertising pursuant to 15

   U.S.C. § 1125(a), as Plaintiff seeks to do here, “the plaintiff must establish the alleged

   infringing conduct constitutes ‘commercial advertising or promotion.’” Verbena Prods.

   LLC v. Pierre Fabre Dermo-Cosmetique USA, Inc., No. 19-23818-CIV-SCOLA, 2020 WL

   2988587, at *3 (S.D. Fla. Feb. 28, 2020). To make this determination the Eleventh Circuit

   requires the representations in question to be:

         (1) commercial speech; [(2)] by a defendant who is in commercial
         competition with plaintiff; (3) for the purpose of influencing consumers to
         buy defendant’s goods or services. While the representations need not be
         made in a classic advertising campaign, but may consist instead of more
         informal types of promotion, the representations (4) must be disseminated
         sufficiently to the relevant purchasing public to constitute advertising or
         promotion within that industry.


                                                29
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 30 of 36




   Id. (quoting Suntree Techs., Inc. v. Ecosense Int’l, Inc., 693 F.3d 1338, 1349 (11th Cir.

   2012)). Usually, consumer reviews do not constitute commercial speech. See GOLO,

   LLC v. HighYA, LLC, 310 F. Supp. 3d 499, 507 (E.D. Penn. 2018) (holding that consumer

   reviews on Defendant’s website of Plaintiff’s product do not qualify as commercial

   speech). However, the undersigned finds here that Defendants paid individuals to post

   positive reviews online for them.        Such actions elevate these paid-for reviews to

   commercial speech. Further, the undersigned finds that Plaintiff and Defendant PG are

   in competition with each other, the reviews were for the purpose of influencing consumers

   to purchase Defendant PG’s services, and that the speech was disseminated sufficiently

   to the relevant purchasing public because it was posted to their business page on Google

   as a public review for any would-be consumer to see when searching for Defendant PG’s

   services.

          The Eleventh Circuit also requires a plaintiff asserting a false advertising claim to

   establish that:

          (1) the defendant’s statements were false or misleading;

          (2) the statements deceived, or had the capacity to deceive, consumers;

          (3) the deception had a material effect on the consumers’ purchasing
              decision;

          (4) the misrepresented service affects interstate commerce; and

          (5) it has been, or likely will be, injured as a result of the false or misleading
              statement.

   Sovereign Military Hospitaller Order of Saint John of Jerusalem of Rhodes & of Malta v.

   Fla. Priory of Knights Hospitallers of Sovereign Order of Saint John of Jerusalem, Knights

   of Malta, Ecumenical Order (Sovereign Military), 702 F.3d 1279, 1294 (11th Cir. 2012).



                                                 30
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 31 of 36




   Here, there can be little dispute as to whether the reviews are false. Defendants paid for

   positive reviews from at least three individuals who never lived in a building that

   Defendant PG serviced. Therefore, this element is met. These reviews are false and

   misleading representations of Defendants’ services. And because these reviews are

   literally false, Plaintiff need not produce evidence that the fake reviews deceived or had

   the capacity to deceive consumers. See Johnson & Johnson Vision Care, Inc. v. 1-800

   Contact, Inc., 299 F.3d 1242, 1247 (11th Cir. 2002) (stating that once a court deems an

   advertisement to be literally false, the movant need not present evidence of consumer

   deception).

          However, the undersigned finds that the element of materiality and the element

   that Plaintiff has been injured or is likely to be injured have not been met. To establish

   materiality, the plaintiff must establish that “the defendant's deception is likely to influence

   the purchasing decision.”      Id. at 1249.     “A plaintiff may establish this materiality

   requirement by proving that the defendants misrepresented an inherent quality or

   characteristic of the product.” Id. (internal quotations omitted). Plaintiff alleges that the

   false reviews go to the inherent quality of Defendant PG’s services, as the reviews refer

   to them as the “best,” “great company,” “great company to work for,” and keep “buildings

   safe and comfortable.”      The undersigned finds that these claims are mere puffery

   regarding Defendant PG’s qualities. See USA Nutraceuticals Grp., LLC v. BPI Sports

   LLC, et al., Case No. 15-80352-CIV-BLOOM/VALLE, 2016 WL 4250668, at *2 (S.D. Fla.

   Apr. 12, 2016) (“Vague or highly subjective claims of product superiority generally fall

   within the category of non-actionable puffery.”).




                                                 31
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 32 of 36




          Lastly, Plaintiff alleges that it has been injured or will likely to be injured as result

   of the fake reviews. Plaintiff, citing Tracfone Wireless, Inc. v. Adams, 98 F. Supp. 3d

   1243, 1258-59 (S.D. Fla. 2015), contends that part of its injury is the costs associated

   with pursuing this action against Defendants. In TracFone Wireless Inc., the court found

   that the defendant committed false advertising because he misled consumers into

   thinking they were purchasing legitimate products that belonged to or were associated

   with the plaintiff. Id. at 1258. The court found that plaintiff had been injured because

   plaintiff “lost sales that it normally would have made,” where there was evidence of such,

   and was forced to incur costs associated with preventing future misconduct. Id. at 1244,

   1258–59 (emphasis added).

          In contrast, Plaintiff here alleges damages or harm that is speculative. Plaintiff has

   not brought forth any evidence or facts that show that it lost sales due to these Google

   reviews. Nor has Plaintiff tied the Google reviews to any loss of sales Plaintiff may have

   suffered. Therefore, the undersigned finds that Plaintiff’s claims fail this element. While

   it is true that Plaintiff has incurred costs in pursuing this action, those costs can be

   recouped separately by pursuing attorneys’ fees and costs, as Plaintiff has requested in

   its Motion.   Therefore, the undersigned recommends that Summary Judgment on

   Plaintiff’s federal trademark infringement claims, federal and common law unfair

   competition claims, and claims brought under FDUPTA be DENIED. See Casa Dimitri

   Corp v. Invicta Watch Co., 270 F. Supp. 3d 1340, 1362 (S.D. Fla. 2017) (“Certain state

   law claims are sufficiently similar to Lanham Act claims such that the legal analysis for

   Lanham Act claims applies to those state law claims. This is true for . . . claims of unfair

   competition . . . and FDUTPA.”).



                                                 32
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 33 of 36




                 4. Permanent Injunction

          The Lanham Act provides that:

          [C]ourts . . . shall have power to grant injunctions to prevent the violation of
          any right of the registrant of a mark registered in the Patent and Trademark
          Office or to prevent a violation under subsection (a), (c), or (d) of section
          1125 of this title. A plaintiff seeking any such injunction shall be entitled to
          a rebuttable presumption of irreparable harm upon a finding of a violation
          identified in this subsection in the case of a motion for a permanent
          injunction or upon a finding of likelihood of success on the merits for a
          violation identified in this subsection in the case of a motion for a preliminary
          injunction or temporary restraining order.

   15 U.S.C. § 1116(a). “A plaintiff seeking a permanent injunction must demonstrate (1) it

   has suffered an irreparable injury; (2) remedies available at law, such as monetary

   damages, are inadequate to compensate for that injury; (3) considering the balance of

   hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4)

   the public interest would not be disserved by a permanent injunction.” Angel Flight of Ga.

   Inc., v. Angel Flight of Am., Inc., 522 F.3d 1200, 1208 (11th Cir. 2008).

          Plaintiff contends that injunctive relief is necessary to prevent Defendants from

   returning to the infringing activity; that Plaintiff will suffer irreparable injury if Defendants

   are allowed to continue; that the balance of hardships favors Plaintiff because Defendants

   will suffer no hardship; and that the public interest weighs strongly in favor of the injunction

   because it will prevent Plaintiff’s marks being used in a manner that is confusing to

   consumers. Defendants respond that an injunction is not necessary because Defendants

   have ceased the infringing behavior, the domains have been surrendered, and that the

   Instagram Page has been deleted.

          Even though Defendants have ceased the activity, this Court has equitable

   discretion to issue an injunction even after infringing conduct has ceased. See Pensacola



                                                  33
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 34 of 36




   Motor Sales, Inc. v. E. Shore Toyota, LLC, 684 F.3d 1211, 1220 (11th Cir. 2012). Here,

   the undersigned finds that injunctive relief is not necessary. Although Defendants did

   deny the existence of the Instagram account during the Bill of Discovery, the account is

   no longer active, and Defendants have surrendered the infringing domains. The two

   cases relied on by Plaintiff both involve defendants who defaulted. However, here, the

   undersigned does not find any evidence that Defendants have used Plaintiff’s marks after

   the lawsuit commenced or any other actions indicating that they would return to such

   activity. Thus, the undersigned recommends that Plaintiff’s request for injunctive relief be

   DENIED.

                    5. Fees and Costs

          Plaintiff requests that this Court award Plaintiff attorney’s fees in this action

   because this case qualifies as an “exceptional case.” The Lanham Act provides that

   courts may award reasonable attorney fees to prevailing parties in “exceptional cases.”

   15 U.S.C. § 1117(a). “The statute does not define the term ‘exceptional,’ but the Eleventh

   Circuit has repeatedly held that an ‘exceptional’ case is one which is ‘malicious,

   fraudulent, deliberate and willful, or one in which evidence of fraud or bad faith exists.’”

   Tiramisu Int’l LLC v. Clever Imps. LLC, 741 F. Supp. 2d 1279, 1294 (S.D. Fla. 2010)

   (quoting Welding Servs., Inc. v. Forman, 301 Fed. App’x 862, 862 (11th Cir. 2007)).

          Here, the undersigned agrees with Plaintiff that this case qualifies as exceptional.

   The undersigned found that Defendants purchased the domains in bad faith. Defendants’

   reasoning was to drive would-be consumers from Plaintiff’s website to their own.

   Defendants deliberately engaged in actions using Plaintiff’s marks for their own profits.

   Regardless of whether Defendants were successful, such actions qualify this case as an



                                               34
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 35 of 36




   exceptional one. Should the District Court agree with the undersigned’s recommendation

   regarding the ACPA claims and enter judgment in favor of Plaintiff, the undersigned

   recommends that Plaintiff be awarded reasonable attorneys’ fees.

   V.    RECOMMENDATIONS

         Based on the foregoing, the undersigned recommends that Plaintiff’s Motion for

   Default, ECF No. 136, be DENIED in full. The undersigned further recommends that

   Plaintiff’s Motion for Summary Judgment, ECF No. 159, be GRANTED in part as follows:

            1. Summary Judgment be entered in favor of Plaintiff on Count I under the

                ACPA.

            2. The Court should decline to disgorge Defendants’ profits.

            3. The Court should award statutory damages in the amount of $60,000

                ($10,000 per domain).

            4. Summary Judgment should be denied on Counts II, IV, and VI.

            5. Plaintiff should be awarded reasonable attorneys’ fees and costs.

            6. Plaintiff’s request for a permanent injunction should be denied.




                                             35
Case 0:19-cv-62467-AMC Document 200 Entered on FLSD Docket 10/12/2021 Page 36 of 36




          Within fourteen days after being served with a copy of this Report and

   Recommendation, any party may serve and file written objections to any of the above

   findings and recommendations as provided by the Local Rules for this district. 28 U.S.C.

   § 636(b)(1); S.D. Fla. Mag. R. 4(b). The parties are hereby notified that a failure to timely

   object waives the right to challenge on appeal the district court’s order based on

   unobjected-to    factual   and   legal   conclusions   contained    in   this   Report   and

   Recommendation. 11th Cir. R. 3–1 (2016); see Thomas v. Arn, 474 U.S. 140 (1985).

          DONE and SUBMITTED in Chambers, at Fort Lauderdale, Florida this 12th day

   of October 2021.



                                             _________________________________
                                             PATRICK M. HUNT
                                             UNITED STATES MAGISTRATE JUDGE
    Copies furnished to:
    The Honorable Aileen M. Cannon
    All Counsel of Record




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